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                                     UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO

    In re:                                                          PROMESA
                                                                    Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                                    No. 17 BK 3283-LTS
                  as representative of
                                                                    (Jointly Administered)
    THE COMMONWEALTH OF PUERTO RICO, et
    al.,
                         Debtors. 1


                            FOURTEENTH NOTICE OF TRANSFER OF CLAIMS
                            TO ADMINISTRATIVE CLAIMS RECONCILIATION

    To the Honorable United States District Judge Laura Taylor Swain:

             1.          On March 12, 2020, this Court entered the Order (A) Authorizing Administrative

Reconciliation Of Claims, (B) Approving Additional Form Of Notice, and (C) Granting Related Relief

[ECF No. 12274] (the “ACR Order”). The ACR Order authorized the Commonwealth of Puerto Rico

(the “Commonwealth”), the Puerto Rico Highways and Transportation Authority (“HTA”), the

Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”),

the Puerto Rico Electric Power Authority (“PREPA”), and the Puerto Rico Public Buildings Authority



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  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and
the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283- LTS)
(Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
(“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
(iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-
3567- LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566- LTS)
(Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”)
(Bankruptcy Case No. 17- BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto
Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK- 5523-LTS) (Last Four Digits
of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case numbers due to
software limitations).
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(“PBA,” and together with the Commonwealth, HTA, ERS, and PREPA, the “Debtors”) to resolve

certain Pension/Retiree Claims, Tax Refund Claims, Public Employee Claims, and Grievance Claims

(each as defined in the ACR Order) utilizing the Debtors’ existing administrative reconciliation

processes (“Administrative Claims Reconciliation”).

        2.      Pursuant to the ACR Order, the Debtors hereby transfer the claims identified on

Exhibit A hereto (the “Fourteenth ACR Designated Claims”) into Administrative Claims

Reconciliation. Each of the Fourteenth ACR Designated Claims shall be resolved utilizing the

Pension/Retiree Procedures, the Tax Refund Procedures, the Public Employee Procedures, and/or the

Grievance Procedures (each as defined in the ACR Order), as applicable and as set forth on Exhibit

A hereto.

        3.      As directed by the ACR Order, the Debtors shall serve a copy of the ACR Transfer

Notice (as defined in the ACR Order) on each claimant whose claim is identified on Exhibit A hereto

(the “Thirteenth ACR Designated Claimants”).

        4.      Prime Clerk is hereby authorized and directed to designate the Fourteenth ACR

Designated Claims as “Subject to Administrative Reconciliation” on the Claims Registry in the Title

III cases.

        5.      The Debtors shall serve copies of this notice upon the Fourteenth ACR Designated

Claimants listed on Exhibit A and the Master Service List (as defined by the Fourteenth Amended

Case Management Procedures [Case No. 17-3283, ECF No. 15894-1]). This notice is also available

on the Debtors’ case website at https://cases.primeclerk.com/puertorico.




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  Dated: June 21, 2021                      Respectfully submitted,
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